Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 1 of 17 Pageid#:
                                   17445




                  EXHIBIT 25
          Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 2 of 17 Pageid#:
n                                            17446




    https://www.stltoday.com/lifestyles/health-med-fit/coronavirus/southeast-missouri-seeing-big-uptick-in-covid-19-cases/article_7bc45cbf-4e82-
    51c3-8b5c-eb80ff3e72ad.html



                              Southeast Missouri seeing big uptick in COVID-19 cases
                                                              By Jim Salter Associated Press
                                                                      Aug 24, 2021




     This transmission electron microscope image shows the coronavirus that causes COVID-19—isolated from a patient in the U.S. Virus particles are
     shown emerging from the surface of cells cultured in the lab. The spikes on the outer edge of the virus particles give coronaviruses their name,
     crown-like.



     Photo courtesy of NIAID-RML


     By Jim Salter Associated Press




     M
                issouri’s surge in COVID-19 cases appears to be moving to the Bootheel region of the state, with
                hospitals in southeast Missouri filling with patients, many of them critically ill.

     Meanwhile, the state health department on Tuesday reported 170 additional deaths, bringing to 10,376 the
     number of Missourians who have succumbed to the virus since the onset of the pandemic.
       Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 3 of 17 Pageid#:
n                                         17447
    Southwestern Missouri has been the epicenter of this summer’s outbreak of COVID-19. But since the delta
    variant of the virus began its rampage in June, cases have spread across the state.

    Information on Missouri’s COVID-19 dashboard shows that six of the 12 counties with the highest seven-day
    rates of new cases are in the southeast — Scott, New Madrid, Mississippi, Madison, Jackson and Perry counties.

    Cape Girardeau’s two hospitals are treating a combined 76 COVID-19 patients, including 24 in intensive care
    units, according to information from St. Francis Medical Center and Southeast Hospital.

    Statewide, of the 170 newly reported deaths, 143 were the result of a weekly review of death certificates. The state
    health department said one of those deaths was in May, two were in June, 35 were in July and 105 were earlier in
    August. The state also cited 27 new deaths, and 1,770 newly confirmed cases. Missouri has reported 618,022
    COVID-19 cases overall.

    A central Missouri mayor meanwhile sought support for his push to allow a friend to be given an anti-parasite
    drug not approved for treating COVID-19.

    The Kansas City Star reported that Lake Ozark Mayor Dennis Newberry wrote on Facebook Monday that his
    friend should be allowed to take ivermectin in a last-ditch effort to save him.

    “Please pray for cooperation from his caregivers and hospital admin to allow his loved ones and friends to step in
    and assist with his life. If we do nothing his life will surely be taken from his 18 year old son, his family and
    friends,” Newberry wrote. “I need your prayers and comments to attempt to gain favor with the powers to be.”

    The U.S. Food and Drug Administration has approved ivermectin to treat some parasitic worms and for head lice
    and skin conditions in humans, and other preparations of the drug are used to treat and prevent parasites in
    horses. The FDA has not approved ivermectin for treating or preventing COVID-19.

    By Tuesday morning, Newberry’s post had been removed. It wasn’t immediately clear why and a phone message
    left with Newberry wasn’t immediately returned.


    COVID-19 in Missouri and Illinois: By the numbers
         Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 4 of 17 Pageid#:
n                                           17448




      Missouri: COVID-19 new cases per day
        New confirmed cases (PCR)
        New probable cases (antigen)
      8000


      7000


      6000


      5000


      4000


      3000


      2000


      1000


         0
        23 0
       4/ 020

        22 0
       5/ 020

        22 0
       6/ 020

        21 0
       7/ 020

        21 0
       8/ 020

        20 0
       9/ 020

        19 0
        /4 0
       /1 20

        /3 0
       /1 20

        /3 0
       /1 20
       1/ 020

        17 1
       2/ 021

        16 1
       3/ 021
      3/ 202


      4/ 202


      5/ 202


      6/ 202


      7/ 202


      8/ 202


      9/ 202
      10 202


      11 202


      12 202




      1/ 202


      2/ 202


      3/ 202
     10 /20


     11 /20


     12 /20
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       3/




      Source: Missouri Department of Health and Senior Services

                                                                                                                                                       A Flourish chart
    NOTE: On Saturday, April 17, 2021, the Missouri Department of Health and Senior Services (DHSS) noted on its dashboard that it discovered a database error that was
    causing individuals with both a positive PCR and antigen result to be counted as both a probable and confirmed case. This correction removed 11,454 cases that were
    counted twice in previous probable antigen cases, according the notation.
    NOTE: Beginning Monday, March 8, 2021, the Missouri Department of Health and Senior Services (DHSS) began posting county-level data showing "probable" COVID-19
    cases detected by antigen testing. Using the historical data from the DHSS dashboard, we reconfigured this graph to include that number in the total.
       Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 5 of 17 Pageid#:
n                                                                                 17449
    NOTE: Missouri updated its data dashboard on Sept. 28. 2020, to delete duplicate cases. This resulted in a decrease of total cases which caused the daily count to reflect a
    negative number.




      Missouri: COVID-19 rolling 7-day average
        7 day rolling avg confirmed (PCR)
        7 day rolling avg probable + confirmed (antigen + PCR)

       5500
       5000
       4500
       4000
       3500
       3000
       2500
       2000
       1500
       1000
        500
          0
       -500
      -1000
                   20




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      Source: Missouri Department of Health and Senior Services, St. Louis Post-Dispatch analysis



                                                                                                                                                               A Flourish chart
    NOTE: On Saturday, April 17, 2021, the Missouri Department of Health and Senior Services (DHSS) noted on its dashboard that it discovered a database error that was
    causing individuals with both a positive PCR and antigen result to be counted as both a probable and confirmed case. This correction removed 11,454 cases that were
    counted twice in previous probable antigen cases, according the notation.
    NOTE: Beginning Monday, March 8, 2021, the Missouri Department of Health and Senior Services (DHSS) began posting county-level data showing “probable” COVID-19
    cases detected by antigen testing. Using historical data from the DHSS dashboard, we reconfigured this graph to include that number.
         Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 6 of 17 Pageid#:
n                                           17450
      Missouri: COVID-19 total cases
      800,000



      700,000



      600,000



      500,000



      400,000



      300,000



      200,000



      100,000



            0
                   20




                                            20




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      Source: Missouri Department of Health and Senior Services

                                                                                                                                             A Flourish chart
    NOTE: On Oct. 11, Missouri announced that a database error had resulted in an “incorrect inflation” of cases in its October 10 report.
        Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 7 of 17 Pageid#:
n                                          17451
     Missouri and Illinois: New vaccinations per day
     Rate of daily new vaccinations per 100,000 people (rolling 7-day average)
       U.S.   Illinois   Missouri

     1,200

     1,100

     1,000

       900

       800

       700

       600

       500

       400

       300

       200

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     Source: Centers for Disease Control and Prevention

                                                                                                                             A Flourish chart




    Missouri's vaccination rollout
    Last updated: Aug. 26
    The maps below show the percentage of residents who have received one or more doses of COVID-19 vaccine, both
    nationally and within Missouri.
                                    U.S. states                                                 Missouri counties

                  51.83%              61.42%          68.74%                         30.15%            37.1%          46.01%




    Graphic by Josh Renaud / St. Louis Post-Dispatch
    Source: Post-Dispatch analysis of data from the Centers for Disease Control and Prevention and the Missouri Department of Health and
    Senior Services.
    Note: Percentages are based on the U.S. Census Bureau's 2019 American Community Survey population estimates. Because of delays in
    reporting, Missouri's statewide percentage in the national data is lower than in its own data.
         Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 8 of 17 Pageid#:
n                                           17452




      Hospitalizations - St. Louis Metropolitan Pandemic Task
      Force
        Task Force: Hospitalized
        Task Force: In ICU
        Task Force: Ventilators in use
      1100

      1000

       900

       800

       700

       600

       500

       400

       300

       200

       100

          0
                   20



                             20


                                       20



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                 20



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                                                                                                     02


                                                                                                               03




                                                                                                                                                          A Flourish chart
    Note from St. Louis Metropolitan Pandemic Task Force regarding the numbers for July 20: There was a delay in reporting some test results leading to the increase in
    reported hospital admissions.
    Editor's note: This chart has been adjusted to reflect suspected and confirmed cases in hospitalized patients in early June. Previous updates only
    had confirmed case numbers.
         Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 9 of 17 Pageid#:
n                                           17453
      Missouri: COVID-19 hospitalizations by day
      3000

      2800

      2600

      2400

      2200

      2000

      1800

      1600

      1400

      1200

      1000

       800

       600

       400

       200

         0
        23 0
       4/ 020

        22 0
       5/ 020

        22 0
       6/ 020

        21 0
       7/ 020

        21 0
       8/ 020

        20 0
       9/ 020

        19 0
        /4 0
       /1 20

        /3 0
       /1 20

        /3 0
       /1 20
       1/ 020

        17 1
       2/ 021

        16 1
       3/ 021
      3/ 202


      4/ 202


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      8/ 202


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      11 202


      12 202




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      3 20
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      Source: Missouri Department of Health and Senior Services

                                                                                                                                                             A Flourish chart
    Note from Missouri Department of Health and Senior Services: Note: Due to an abrupt change in data measures and the reporting platform issued by the White House
    on Monday, July 13, and effective Wednesday, July 15, Missouri Hospital Association (MHA) and the State of Missouri were unable to access hospitalization data during the
    transition. .
      Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 10 of 17 Pageid#:
n                                         17454
    Missouri deaths by week occurred
    500

    450

    400

    350

    300

    250

    200

    150

    100

     50

      0
          09

                   29

                        9

                                 10

                                       31

                                             21

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    Source: Missouri Department of Health and Senior Services
    Notes: This chart shows only deaths that have been reported to the state. The weekly
    totals are revised continually as new deaths are reported. Because of the lag between
    when people die and when their deaths are reported, the most recent weeks' totals
    probably undercount the number of deaths Data with missing or incorrect dates of
                                                                                                A Flourish chart




    Missouri: Total COVID-19 deaths
    11,000


    10,000


     9000


     8000


     7000


     6000


     5000


     4000


     3000


     2000


     1000


           0
                   0




                                                 0




                                                                               0




                                                                                           1
               02




                                              02




                                                                               02




                                                                                           02
              2




                                               2




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       04




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    Source: Missouri Department of Health and Senior Services

                                                                                                A Flourish chart
                                                                                                                                                                                                                                                                                               n

                   Oc
                      t2
                          4




                                    0
                                        2
                                            4
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                                                                                      22
                                                                                           24
                                                                                                26
                    No , 20
                        v 1 20
                    No , 20
                        v     2
                   No 9, 2 0
                      v 1 02
                   No 7, 2 0
                      v 2 02
                          5 0
                    De , 20
                        c 3 20
                   De , 2
                      c 1 02
                   De 1, 2 0
                      c 1 02
                   De 9, 2 0
                      c 2 02
                          7 0
                    Ja , 20
                       n      2




                                                                                                     7-day positivity MO DHHS reported %
                   Ja 4, 2 0
                      n
                        12 021
                   Ja , 2
                      n
                        2 02
                   Ja 0, 2 1
                      n
                        28 021
                    Fe , 20


                                                                                                                                                                                                                                                         Moving 7-day PCR positivity rate
                       b      2
                   Fe 5, 2 1
                      b     0
                        1 2
                   Fe 3, 2 1
                      b
                        21 021
                    M , 20
                      ar
                          1 21
                    M , 20
                      ar      2
                   M 9, 2 1
                     ar
                        1 2 0
                   M 7, 2 1
                     ar
                        25 021
                                                                                                                                                                                                                                                                                                                                17455




                     Ap , 20
                        r    2
                   Ap 2, 2 1
                      r 1 02
                   Ap 0, 2 1
                      r 1 02
                   Ap 8, 2 1
                                                                                                                                           The number of positive PCR tests, divided by the total number of tests; not deduplicated to the individual.




                      r 2 02
                                1
                    M 6, 2
                      ay 02
                   M      4     1
                     ay , 20
                              2
                                                                                                                                                                                                                                                                                            Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 11 of 17 Pageid#:




A Flourish chart
    Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 12 of 17 Pageid#:
n                                       17456
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                                                                     24
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                                                                             0
                                                                                 2000
                                                                                        4000
                                                                                               6000
                                                                                                      8000
                                                                                                             10,000
                                                                                                                      12,000
                                                                                                                               14,000
                                                                                                                                        16,000
                                                                   3/ 202
                                                                     18 0
                                                                       /2
                                                                    4/ 020
                                                                      2/
                                                                   4/ 202
                                                                     17 0
                                                                       /2
                                                                    5/ 020
                                                                      2/
                                                                   5/ 202
                                                                     17 0
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                                                                      1/
                                                                   6/ 202
                                                                     16 0
                                                                       /2
                                                                    7/ 020
                                                                      1/
                                                                   7/ 202
                                                                     16 0
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                                                                   7/ 202




                   Source: Illinois Department of Public Health
                                                                     31 0
                                                                       /
                                                                   8/ 202
                                                                     15 0
                                                                       /
                                                                   8/ 202
                                                                     30 0
                                                                       /
                                                                   9/ 202
                                                                     14 0
                                                                       /
                                                                   9/ 202
                                                                     29 0
                                                                                                                                                 Illinois: COVID-19 new cases per day




                                                                  10 /20
                                                                    /1 20
                                                                      4
                                                                  10 /20
                                                                    /2 20
                                                                      9
                                                                  11 /20
                                                                    /1 20
                                                                      3
                                                                  11 /20
                                                                    /2 20
                                                                      8
                                                                  12 /20
                                                                    /1 20
                                                                      3
                                                                                                                                                                                                                            17457




                                                                  12 /20
                                                                    /2 20
                                                                      8/
                                                                   1/ 202
                                                                     12 0
                                                                       /
                                                                   1/ 202
                                                                     27 1
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                                                                   2/ 202
                                                                     11 1
                                                                       /
                                                                   2/ 202
                                                                     26 1
                                                                       /
                                                                   3/ 202
                                                                                                                                                                                        Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 13 of 17 Pageid#:




A Flourish chart
     Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 14 of 17 Pageid#:
n                                        17458

    Illinois: COVID-19 rolling 7-day average
    13,000

    12,000

    11,000

    10,000

     9000

     8000

     7000

     6000

     5000

     4000

     3000

     2000

     1000

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                          20




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    Source: Illinois Department of Public Health                  01



                                                                              A Flourish chart
     Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 15 of 17 Pageid#:
n                                        17459
    Illinois: COVID-19 total cases
    1,600,000



    1,400,000



    1,200,000



    1,000,000



     800,000



     600,000



     400,000



     200,000



            0
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    Source: Illinois Department of Public Health

                                                                                                                             A Flourish chart




    Illinois COVID-19: Hospitalizations, ICU beds and ventilator
    use
      Hospitalizations
      in ICU
      Ventilators in use
    6500

    6000

    5500

    5000

    4500

    4000

    3500

    3000

    2500

    2000

    1500

    1000

     500

       0
                20



                          20


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                                                                                                                             A Flourish chart
      Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 16 of 17 Pageid#:
n                                         17460




    Illinois: COVID-19 deaths per day
     240
     220
     200
     180
     160
     140
     120
     100
      80
      60
      40
      20
       0
      20 -17
      20 -15
      20 -14
      20 -12
      20 -11
      20 -09
      20 -07
      20 -06
      20 -04
      21 -03
      21 -01
      21 -30
      21 -28
      21 -29
      21 -27
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      21 -23
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    20 -04
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    20 -10
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    20 -01
    20 -01
    20 -02
    20 -03
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    20 -05
    20 -06
    20 -07
         -0
      20
    20




    Source: Illinois Department of Public Health • Beginning Feb. 1, 2021, deaths per day include
    confirmed plus probable deaths. (Previous numbers included confirmed deaths, only.)




                                                                                                    A Flourish chart
     Case 3:17-cv-00072-NKM-JCH Document 1037-1 Filed 08/27/21 Page 17 of 17 Pageid#:
n                                        17461
    Illinois: Total COVID-19 deaths
    28,000

    26,000

    24,000

    22,000

    20,000

    18,000

    16,000

    14,000

    12,000

    10,000

     8000

     6000

     4000

     2000

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    Source: Illinois Department of Public Health

                                                                              A Flourish chart
